   Case 1:21-cv-00631-MN Document 7 Filed 06/02/21 Page 1 of 2 PageID #: 49




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

                             Plaintiff,
                                                            C.A. No. 21-631-MN
              v.
                                                       JURY TRIAL DEMANDED
MOBILE VIDEO SOLUTIONS, INC.,

                             Defendant.




                DEFENDANT MOBILE VIDEO SOLUTIONS, INC.’S
              MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Defendant Mobile Video Solutions, Inc. (“MVSI”) respectfully moves this Court to

dismiss Plaintiff Rothschild Broadcast Distribution Systems, LLC’s Complaint, pursuant to

Federal Rule of Civil Procedure 12(b)(6), for failure to state a claim upon which relief can be

granted.

       The grounds for this motion are further set forth in MVSI’s Opening Brief in Support of

its Motion to Dismiss for Failure to State a Claim, which is being filed contemporaneously

herewith.
   Case 1:21-cv-00631-MN Document 7 Filed 06/02/21 Page 2 of 2 PageID #: 50




Dated: June 2, 2021               FISH & RICHARDSON P.C.

                                  By: /s/ Jeremy D. Anderson
                                      Jeremy D. Anderson (Bar No. 4515)
                                      222 Delaware Avenue, 17th Floor
                                      Wilmington, Delaware 19801
                                      (302) 652-5070 (Telephone)
                                      (302) 652-0607 (Facsimile)
                                      janderson@fr.com

                                      Neil J. McNabnay
                                      Ricardo J. Bonilla
                                      Michael A. Vincent
                                      1717 Main Street, Suite 5000
                                      Dallas, Texas 75201
                                      (214) 747-5070 (Telephone)
                                      (214) 747-2091 (Facsimile)
                                      macnabnay@fr.com; rbonilla@fr.com;
                                      vincent@fr.com

                                  COUNSEL FOR DEFENDANT
                                  MOBILE VIDEO SOLUTIONS, INC.




                                      2
